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IN THE UNITED STATES DISTRICT COURT FOR

 

THE SOUTHERN DISTRICT OF WEST VIRGINIA Ft 4) i i ED

   
  

HUNTINGTON DIVISION
FEB | 6 2023

 

 

GENBIOPRO, INC. - RORY Pe ANY i, CLERK
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Plaintiff
VS. Civil Action No: 3:23-cv-00058

(CHAMBERS)

MARK A. SORSAIA, in his official capacity
as Prosecuting Attorney of Putnam County,
and, PATRICK MORRISEY, in his official
capacity as Attorney General in West Virginia,
Defendants
DEFENDANT MARK SORSAIA’S RULE 12(B)(1)
AND RULE 12(B)(6) MOTION TO DISMISS

Pursuant to Fed. R. Civ. P 12(b)(1) and 12(b)(6), Defendant, Mark A. Sorsaia, hereby
moves this Court to dismiss, with prejudice, all claims asserted against him by the Plaintiff in this
civil action. This motion is made upon the following grounds.

1. This Court lacks jurisdiction over the claims asserted by Plaintiff against this
Defendant because there is no actual case in controversy as between Plaintiff and Defendant. To
establish a justiciable case, the Plaintiff must show (1) "that he ‘has sustained or is immediately in
danger of sustaining some direct injury .. . or threat of injury [that is] both 'real and immediate,'
not 'conjectural' or 'hypothetical'; (2) that is fairly traceable to "the challenged official conduct";
and (3) the injury "is likely to be redressed by a favorable judicial decision." Shenandoah Valley

Network v. Capka, 669 F.3d 194, 202 (4th Cir. 2012) (quoting City of L.A. v. Lyons, 461 U.S. 95,

101-02, 103 S. Ct. 1660, 75 L. Ed. 2d 675 (1983) (citations omitted); Lujan v. Defs. of Wildlife,
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504 U.S. 555, 560-61, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992)). In this case. Plaintiff cannot
make any of these required showings. Therefore, Defendant Sorsaia is entitled to an Order
dismissing all claims against him in accordance with Fed. R. Civ. P 12(b)(1).
2. Plaintiff has failed to state any claims against Defendant Sorsaia upon which relief
may be granted. In Iqbal v. Ashcroft 556 U.S, 662 (2009) the United States Supreme Court
reiterated and amplified upon the principles relating to pleading a viable cause of action that it had
announced two years earlier in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007). Specifically, the
Supreme Court in Jgbal held:
To survive a motion to dismiss, a complaint must contain sufficient
factual matter, accepted as true, to "state a claim to relief that is
plausible on its face"... . A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the misconduct
alleged.

556 U.S. at 678.

In this case, the Complaint alleges no facts from which this Court may reasonably infer
that Defendant Sorsaia is liable for any misconduct toward Plaintiff. The entire thrust of
Plaintiff's Complaint is to prevent statewide enforcement of the Criminal Abortion Ban as related
to distribution and sale of mifepristone. Defendant Sorsaia is not alleged to have initiated or
threatened any prosecutions in Putnam County to enforce the Criminal Abortion Ban as relating
to distribution and sale of mifepristone and no specific facts been plead to indicate that Plaintiff or
any other parties faces any imminent risk of such prosecution in Putnam County. The Complaint
lacks the facial plausibility required by Jqba/ to demonstrate that Plaintiff is at risk of suffering

any harm due to the conduct of Defendant Sorsaia. Therefore, Defendant Sorsaia is entitled to an

Order dismissing all claims against him in accordance with Fed. R. Civ. P 12(b)(6).
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WHEREFORE, and for the reasons stated above, Defendant, Mark A. Sorsaia, moves that
this Court enter an Order dismissing the Complaint filed against him, with prejudice, and grant

him such other relief to which the Court may deem that he is entitled.

MARK A SORSAIA, in his official capacity as
Prosecuting Attorney of Putnam County

By Counsel

/s/ Jennifer Scragg Karr
Jennifer Scragg Karr (WV Bar #8051)
Assistant Prosecuting Attorney
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Attorney for Defendant Mark A. Sorsaia
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THE SOUTHERN DISTRICT OF WEST VIRGINIA

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GENBIOPRO, INC.
Plaintiff

VS. Civil Action No: 3:23-cv-00058
(CHAMBERS)

MARK A. SORSAIA, in his official capacity
as Prosecuting Attorney of Putnam County,
and, PATRICK MORRISEY, in his official
capacity as Attorney General in West Virginia,

Defendants

CERTIFICATE OF SERVICE
I, the undersigned, counsel for Defendant, Mark A. Sorsaia, do hereby certify that on this
Lo* day of February, 2023 I served a copy of the foregoing Defendant Mark Sorsaia’s Rule
12(b)(1) and Rule 12(b)(6) Motion to Dismiss with the Clerk of the Court using the CM/ECF

system that will send notification of such filing to all counsel of record.

/s/ Jennifer Scragg Karr
Jennifer Scragg Karr (WV Bar #8051)
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Attorney for Defendant Mark A. Sorsaia
